
Overton, j.
If the jury believe the land in dispute to be covered by the plaintiff's grant, they will find for him—otherwise for the defendants.
White, j.
The defendants endeavor to repel the plaintiff’s claim, by the possession of seven years.—This ground is certainly not tenable, unless the defendants have heed in possession seven years, since the extinguishment of the Indian claim. The other points made by the defendant’s counsel, are of some importance, and may deserve consideration; but for the present, if the jury should be satisfied as to locality, they will find for the plaintiff, and if a further consideration should be a desired, a new trial may be moved for.
Verdict for the plaintiff.
A rule was entered but not argued, and a bill in equity was afterwards filed; after which, the court, on motion,compelled the defendants to make an election, which they did,in favor of the suit in equity,upon which the rule was discharged.
